                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION

   JAMES R. PUTMAN, JR.,                       )
                                               )        Case No. 7:17-cv-168
          Plaintiff,                           )
                                               )
   v.                                          )
                                               )
   SAVAGE ARMS, INC.,                          )        By:   Michael F. Urbanski
                                               )        Chief United States District Judge
          Defendant.                           )

                                  MEMORANDUM OPINION

          This matter comes before the court on Plaintiff James R. Putman, Jr.'s ("Putman's")

   Motion to Exclude Opinion Testimony of Steven Rodgers, flied on January 8, 2019. ECF

   No. 57. Defendant Savage Arms, Inc. ("Savage") responded on January 21. ECF No. 72.

   Putman replied on January 29. ECF No. 86. The court heard argument on February 1. ECF

   No. 89. For the reasons stated below, the court DENIES Putman's motion.

                                                   I.

          Federal Rule of Evidence 703 permits expert witnesses to base opinions on facts or

   data "that the expert has been made aware of or personally observed," as well as facts an

   expert "in the particular field would reasonably rely on." The trial judge serves as the

   "gatekeeper" of expert evidence by determining its admissibility and assessing the

   qualifications of the expert purporting to offer it. Gen. Elec. Co. v. Joiner, 522 U.S. 136, 142

   (1997). To establish "a standard of evidentiary reliability," an expert must testify about

   scientific knowledge. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589-90 (1993). To

   ensure relevancy, the expert's evidence or testimony must "'assist the trier of fact to




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   understand the evidence or to determine a fact in issue."' Id. at 591 (quoting Fed. R. Evid.

   702). When faced with potential expert testimony, the trial judge must make a "preliminary

   assessment of whether the reasoning or methodology underlying the testimony is

   scientifically valid and of whether that reasoning or methodology properly can be applied to

   the facts in issue." Id. at 592-93. In particular, the Fourth Circuit Court of Appeals has

   "admonished that 'a plaintiff may not prevail in a products liability case by relying on the

   opinion of an expert unsupported by any evidence such as test data or relevant literature in

   the field."' Oglesby v. Gen. Motors Corp., 190 F.3d 244, 249 (4th Cir. 1999) (quoting

   Alevromagiros v. Hechinger Co., 993 F.2d 417,422 (4th Cir. 1993)).

                                                   II.

          Savage offers Rodgers as an expert to opine on Putman's alleged misuse of the

   Savage 1OML-II muzzleloader. Rodgers serves as the Product Safety Manager for the parent

   company of defendant Savage Arms.

          Putman argues Rodgers's conclusions are either unhelpful to the jury or based on

   assumptions that have been disproven by evidence. For instance, Rodgers states Putman's

   choice of bullet may have caused the incident. ECF No. 68-3, at 6. Putman asserts that

   whether Putman used the type of bullet recommended by Savage is within the jurors'

   understanding. Additionally, Rodgers characterizes the PowerBelt bullet as an "integrated

   sub-based design bullet," id. at 3; this is the first time anyone has ever identified the

   PowerBelt bullet this way. Putman argues Rodgers does so to more closely align his

   description with language used in the 10ML-II instruction manual in "a transparent attempt

   to transform the facts to match his theory." ECF No. 68, at 9.


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          Putman points to several other assumptions in Rodgers's report that he claims are

   not properly formed or supported. For example, Rodgers opines that the amount of

   gunpowder Putman used caused his injury but does not know how much gunpowder was

   used and admits that overloading by this quantity of gunpowder is expected, even when

   powder is properly measured. Rodgers opines that Putman's injury was caused by an

   improperly "seated" bullet, but Putman asserts that this has been disproven by both Savage's

   and Rodgers's own testing. See ECF No. 68-5 (the results of Rodgers's "gun drop test"

   showing no midway migration of the bullet); ECF No. 68-6 (the results of Savage's testing of

   unseated bullet). Rodgers does not know how much force it would take to separate a

   PowerBelt bullet, ECF No. 68-1, at 83-84, has never seen a bullet become stuck after

   separating, id. at 135-37, and is unaware of any reports from the field where a secondary

   propellant bed formed in a muzzleloader. Id. at 138-39. Finally, Putman argues that Rodgers

   is unqualified to critique Dr. Druschitz's conclusions because he has no specialized scientific

   education and his recoil force opinion is based on speculation and incorrect facts. Rodgers

   holds a business degree and has no science background except for one semester each of

   chemistry and physics. See ECF No. 68-3, at 12. He admits he does not know how a rupture

   of the barrel would affect the recoil and does not know how much pressure it takes to

   fracture a 10ML-II barrel or if a high-pressure event is required to fracture one. ECF No.

   68-1, at 146.

          Savage claims that Putman misreads Rodgers's opinion. Rodgers never stated that the

   PowerBelt bullet alone caused the accident but concludes a combination of events led to it,

   including the type of bullet used and the overloading of the powder. See ECF No. 68-3, at 6.


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   Savage also argues that, while a juror can read an instruction manual, understanding the

   consequences of Putman's misuses is beyond the purview of a lay juror. Neither would a

   juror understand why Savage instructs shooters to use a .45 caliber bullet with a sabot while

   using smokeless powder. Rodgers's testimony will help the jury understand these issues.

          Savage expresses confusion as to the objection to the term "integrated sub-based

   design bullet" and contends that Rodgers's terminology has no impact on the validity of his

   opinion. Savage asserts that Rodgers's opinion on the movement of the bullet within the

   barrel is reliable and that the tests Putman claims disprove Rodgers's theories bear no

   relation to the facts of this case. Finally, Savage argues Rodgers is qualified to criticize

   Putman's expert-not being a metallurgist does not render Rodgers unqualified, particularly

   since his criticisms of Dr. Druschitz are limited to topics in which he has specialized

   knowledge.

                                                   III.

          In general, Putman's objections to Rodgers's opinions and their factual support go to

   weight, rather than admissibility. Rodgers opines that several factors contributed to Putman's

   accident. Because it is impossible to know precisely how much movement the 10ML-II was

   subjected to or exactly how much gunpowder Putman used, Rodgers draws conclusions

   from the information that exists. Putman is free to point out his concerns as to the viability

   of these conclusions on cross examination, but nothing argued bars Rodgers from testifying

   as to Putman's use of this muzzleloader.

          Putman also argues that Rodgers's opinions go to matters within the jurors'

   understanding and thus are unhelpful to them, an argument also made in favor of excluding


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   Dr. Sam Fadala. ECF No. 55. While the Fourth Circuit draws a "critical distinction" between

   expert and nonexpert testimony, U.S. v. Perkins, 470 F.3d 150, 155 (4th Cir. 2006), it has

   also held that "the 'subject matter of Rule 702 testimony need not be arcane or even

   especially difficult to comprehend."' Id. (quoting Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir.

   1993)) . '"Testimony from an expert is presumed to be helpful unless it concerns matters

   within the everyday knowledge and experience of a lay juror."' SMD Software, Inc. v.

   EMOVE, Inc., 945 F. Supp. 2d 628, 635 (E.D.N.C. 2013) (quoting Kopf, 993 F.2d at 377).

   "Even then, the erroneous admission of such testimony is usually harmless: an astronomer's

   explanation that the days are longer in the summertime may not assist the jury, but it is not

   likely to cause an erroneous finding of fact." Kopf, 993 F.2d at 377.

          Issues regarding the admission of an expert's opinions do arise when that expert

   offers opinions on "the commonplace" that threaten to replace a jury's "independent

   exercise of commonsense." Doe by Watson v. Russell County School Board, 292 F. Supp.

   3d 690, 717 (W.D. Va. 2018) (quoting Kopf, 993 F.2d at 377). However, nothing in

   Rodgers's report threatens to replace a jury's independent exercise of common sense. While

   certainly the jury may take note of the instruction manual and safety warnings of both the

   1mv.1L-II and the PowerBelt bullet on its own, the safe operation of muzzleloaders is not a

   matter of everyday knowledge, and Rodgers's testimony will help the jury understand the

   provisions of the manual in the context of the evidence in this case.

          To be sure, Rodgers is not a metallurgist and may not offer opinions in that realm.

   However, his experience with the industry allow him to offer opinions as to the proper use

   of a smokeless powder muzzleloader and to comment on Putman's use of the 10ML-II.


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                                                 IV.

         For the reasons stated above, Putman's Motion to Exclude Opinion Testimony of

   Steven Rodgers, ECF No. 57, is DENIED.

         An appropriate Order will be entered.

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                                                       Micha   . Urbanski
                                                       Chie United States District Judge




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